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                      UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF DELAWARE


In Re:

GROUPE DYNAMITE INC. et al.,                         Case No. 20-12085

         Debtors in a Foreign Proceeding.            Chapter 15

                                                     Hon. John T. Dorsey

______________________________________/


                  GOVERNMENT ATTORNEY CERTIFICATION


Pursuant to the requirement of Local Rule 9010-1(e) for admittance of Government
counsel to represent the United States of America (or any officer or agency thereof)
or any state or local government (or any officer or agency thereof), the undersigned
counsel hereby certifies the following in order to satisfy the requirement to appear
to represent the State of Michigan Department of Treasury in this action: I am
admitted to practice law in the State of Michigan Courts and the United States
District Court for the Eastern District of Michigan. I am in good standing in all
jurisdictions to which I have been admitted; and, further, I consent to be bound by
the Local Rules of the Bankruptcy Court-District of Delaware and submit to the
jurisdiction of this court for disciplinary purposes.




                                              /s/ Heather L. Donald
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